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18                             UNITED STATES DISTRICT COURT
19                           NORTHERN DISTRICT OF CALIFORNIA

20    INSTITUTE FOR FISHERIES RESOURCES; and
      PACIFIC COAST FEDERATION OF
21    FISHERMEN’S ASSOCIATIONS,                              Case No. 23-cv-05748-JD

22                          Plaintiffs,                      DEFENDANTS’ MOTION TO
                                                             STRIKE DECLARATIONS OF
23                                                           G. SPAIN [DKT. 128-1], J.
             vs.                                             KAWAHARA [DKT. 128-2], D.
24                                                           BITTS [DKT. 128-3], AND S.
      BRIDGESTONE AMERICAS TIRE OPERATIONS,                  BATES [DKT. 128-4].
25
      LLC; CONTINENTAL TIRE THE AMERICAS,
26    LLC; GITI TIRE (USA) Ltd.; THE GOODYEAR                Note on Motion Calendar:
      TIRE & RUBBER COMPANY, individually and as             July 25, 2024
27

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 1    successor in interest to COOPER TIRE & RUBBER
      COMPANY; HANKOOK TIRE AMERICA Corp.;
 2    KUMHO TIRE U.S.A., Inc.; MICHELIN NORTH
      AMERICA, Inc.; NOKIAN TYRES Inc.; NOKIAN
 3
      TYRES U.S. OPERATIONS LLC; PIRELLI TIRE
 4    LLC; SUMITOMO RUBBER NORTH AMERICA,
      Inc.; SUMITOMO RUBBER USA, LLC; TOYO
 5    TIRE HOLDINGS OF AMERICAS Inc.; and
      YOKOHAMA TIRE Corporation.
 6
                             Defendants.
 7

 8                       NOTICE OF MOTION AND MOTION TO DISMISS
 9          Please take notice that on July 25, 2024 at 10:00 am before the Honorable James Donato,
10   Courtroom 11, 19th Floor, 450 Golden Gate Avenue, San Francisco, CA 94102, Defendants
11   Bridgestone Americas Tire Operations, LLC; Continental Tire The Americas, LLC; Giti Tire
12   (USA) Ltd.; The Goodyear Tire & Rubber Company, individually and as successor in interest to
13   Cooper Tire & Rubber Company; Hankook Tire America Corp.; Kumho Tire U.S.A., Inc.;
14   Michelin North America, Inc.; Nokian Tyres Inc.; Nokian Tyres U.S. Operations LLC; Pirelli
15   Tire LLC; Sumitomo Rubber North America, Inc.; Sumitomo Rubber USA, LLC; Toyo Tire
16   Holdings of Americas Inc.; and Yokohama Tire Corporation (“Companies”) will and hereby do
17   move the Court for an order striking ¶¶ 4, 7, 11, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25,
18   and 26, and Exs. A, B, C, E, F, G of the Declaration of Glen H. Spain [Dkt. 128-1] (Spain Decl.),
19   ¶¶ 7, 8, 9, 11, 12, 13, and 14 of the Declaration of Joel Kawahara [Dkt. 128-2] (Kawahara Decl.),
20   ¶¶ 6, 7, 9, 10, and 11 of the Declaration of David Bitts [Dkt. 128-3] (Bitts Decl.), and ¶¶ 4, 5, 6,
21   7, 8, 9, 10, 11, and 12 of the Declaration of Sarah Jane Bates [Dkt. 128-4] (Bates Decl.)
22   (collectively “the Declarations”).
23          The Companies make this motion pursuant to Rule 7-5(b) of the Civil Local Rules. The
24   Companies’ motion is based on this Notice of Motion, the Memorandum of Points and
25   authorities, all pleadings and papers filed in this action, and such oral argument and other matters
26   as may be presented to the Court at the time of hearing.
27

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 1                               STATEMENT OF ISSUES TO BE DECIDED

 2          Pursuant to Civil L.R. 7-4(a)(3), the Companies submit that this motion presents a single

 3   question: Should the Court strike selected portions of the Declarations Glen H. Spain [Dkt. 128-

 4   1], Joel Kawahara [Dkt. 128-2], David Bitts [Dkt. 128-3], and Sarah Jane Bates [Dkt. 128-4]

 5   from the record for failure to comply with the requirements of Fed. R. Civ. P. 56(c)(4) and Rule

 6   7-5(b) of the Civil Local Rules.

 7                          I.      INTRODUCTION AND BACKGROUND
 8          The Companies moved to dismiss this action pursuant to Fed. R. Civ. P. 12(b)(1),

 9   challenging the causation, or “fairly traceable”, and redressability elements of Article III

10   standing, Dkt. 127 at 4-12. This Motion presented a factual challenge that placed the burden on

11   Plaintiffs to “furnish affidavits or other evidence necessary to satisfy its burden of establishing

12   subject matter jurisdiction.” Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1029 (9th Cir.

13   2004). Dkt. 127 at 4, 5. Plaintiffs attempt to meet this burden by submitting declarations which

14   fail to meet the requirements of Fed. R. Civ. P. 56(c)(4) and Rule 7-5(b) of the Civil Local Rules.

15   Dkt. 128.1-4. Plaintiffs’ declarants are lay people. None are experts. None are scientists. None

16   of their declarations should be before this Court on issues that require scientific and technical

17   expertise. And none are competent to offer lay opinion testimony. The Companies ask this

18   Court to strike the Declarations as improper.

19          Glen Spain, the Northwest Regional Director and General Legal Counsel for Plaintiffs
20   Institute for Fisheries Resources (IFR) and Pacific Coast Federation of Fisherman’s Associations

21   (PCFFA), submitted a declaration detailing the structure and purpose of the organizations and the

22   alleged effects of 6PPD on them. Spain Decl. at ¶¶ 1-26. Mr. Spain does not testify to having

23   any background in chemistry, toxicology, the federal Endangered Species Act (ESA), ecology, or

24   economics, but yet seeks to opine on each of these topics based on his anecdotal understanding

25   and conversations with members who also lack such expertise. Mr. Spain’s declaration focuses

26   largely on Plaintiffs’ injuries, in part because he has “had conversations with countless fishing

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 1   family members.” Spain Decl. at ¶ 18. Mr. Spain states that the 2024 commercial salmon

 2   fishing season cost “coastal salmon-dependent communities many tens of millions of dollars in

 3   lost income, and driving some out of business.” Spain Decl. at ¶ 16. Mr. Spain offers his

 4   conclusions that these injuries are due to the Companies inclusion of 6PPD in their products.

 5   Referring generally to studies of which he is “aware”, he offers that “[b]ased on [his]

 6   understanding, more than decade ago scientists observed a correlation between stormwater

 7   runoff and Coho mortality. Scientists have since identified the chemical contained in stormwater

 8   that was causing much of the mortality observed among coho, as well as Chinook and steelhead:

 9   [6PPD].” Spain Decl. at ¶ 13. He continues that 6PPD “helps to explain why so many stocks of

10   Coho salmon are at such low numbers that they have become listed as endangered or threatened

11   species under the federal [ESA].” Spain Decl. at ¶ 15. And, “fish harvesters may face harm if

12   the salmon they catch and deliver to market are contaminated with 6PPD-Q (or merely if the

13   public fears such contamination), as emerging science suggests 6PPD-Q could be neurotoxic to

14   humans,” again, without elaboration or citation. Spain Decl. at ¶ 18.

15          Mr. Spain also offers a purported solution to his proffered cause of Plaintiffs’ injuries,

16   various forms of redress that he alleges could be ordered from this Court, about which Mr. Spain

17   has no expertise or experience. Mr. Spain states that he is “aware of studies explaining that the

18   construction of stormwater green infrastructure along roadways can effectively mitigate more

19   than 90% of 6PPD-Q from entering streams . . . the Court could order [the Companies] to fund
20   such green infrastructure to prevent 6PPD-Q from entering aquatic habitats through its broad

21   authority to fashion injunctive relief.” Spain Decl. at ¶ 24. Mr. Spain suggests “[t]he Court

22   could also require [the Companies] to obtain a permit under Section 10 of the [ESA] in order to

23   lawfully take the species . . . as part of the Section 10 permit process, [the Companies] could,

24   among other mitigation measures, fund the green infrastructure necessary to remove 6PPD-Q

25   produced from their tires before it enters aquatic habitats and/or fund other habitat restoration

26   measures to offset the harm from 6PPD-Q, which would also provide considerable relief to

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 1   Plaintiffs and their members.” Spain Decl. at ¶ 25. Alternatively, Mr. Spain states that the Court

 2   could also have the Companies “entirely remove 6PPD from their tires, and substitute it with an

 3   alternative that is safer for fish. This would obviously . . . redress the injuries being suffered by

 4   [Plaintiffs].” Spain Decl. at ¶ 24. Again, Mr. Spain borrows from the FAC for purposes of injury

 5   [FAC ¶¶ 12-23], causation [FAC ¶¶ 83-84, 96-98, 105-06], and redressability [FAC ¶¶ 23, 108-

 6   09].

 7          With respect to the studies noted above, exhibits A, B, and C concern the toxicity of

 8   6PPD to salmonids and exhibits E, F, and G, concern bioretention and other stormwater

 9   management practices. Spain Decl. at ¶¶ 13, 24 and Exs. A, B, C, E, F and G. Mr. Spain does

10   not testify to having expertise in either subject.

11          Mr. Kawahara, a commercial salmon troller and the vice president and director of an

12   organizational member of IFR and PCFFA, provided a declaration focused on the decline of his

13   industry, which he attributes to 6PPD from tires. He does not testify to having any scientific

14   background or training. Kawahara Decl. at ¶¶ 1-14. He describes one occasion when he spoke

15   to a neighbor who had participated in an unsuccessful salmon restoration project and concludes

16   that “[i]n retrospect, it seems likely that this was because of road runoff (containing 6PPD/6PPD-

17   q) from nearby roads”. Kawahara Decl. at ¶ 13. He then opines that if the “court were to grant

18   the relief that [Plaintiffs] are seeking” then he would have “a fighting chance” as a salmon

19   troller. Kawahara Decl. at ¶ 14.
20          David Bitts, a professional commercial fisherman and a member of PCFFA and IFR,

21   provided a declaration suggesting similar conclusory results. Bitts Decl. at ¶¶ 1, 5-8, 10. Mr.

22   Bitts’ insight into salmon biology rests only on his role representing “California trollers on two

23   federal advisory committees dealing with Klamath River salmon issues for over ten years each.”

24   Bitts Decl. at ¶ 4. Mr. Bitts does not testify to having any scientific training or experience with

25   the ESA Section 10 permitting process involving HCPs or ITPs. Mr. Bitts describes, generally,

26   Chinook population decline “in recent years” and its economic impact on his business,

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 1   attributing both to the Companies’ inclusion of 6PPD in tires. Bitts Decl. at ¶¶ 7-9. His

 2   assertions regarding causation are based on his “understand[ing]” that 6PPD is “toxic to Coho,

 3   Chinook, and steelhead”, that a byproduct of 6PPD (6PPD-q) “gets into the natural environment

 4   by shedding off [Defendants’] tires”, and that he has “heard that 6PPD-q causes prespawn

 5   mortality” in these salmonid species.” Bitts Decl. at ¶¶ 9. Mr. Bitts states that he “ha[s] also

 6   heard that prespawn mortality of Coho, Chinook, and steelhead brought about by 6PPD-q has

 7   been a major factor in driving our ocean commercial harvests downward, coastwide, year by

 8   year.” Bitts Decl. at ¶ 9. Mr. Bitts concludes that “an order from the Court granting [Plaintiffs]

 9   relief . . . will help to improve [his] commercial fishing prospects for Chinook, and those of [his]

10   younger colleagues.” Bitts Decl. at ¶ 11.

11          Sarah Jane Bates, a commercial fish harvester and a member of PCFFA and IFR,

12   provided a declaration suggesting similar conclusory results. Bates Decl. at ¶¶ 1, 3-8. Ms. Bates

13   testifies, without any relevant expertise or experience, that “based on [her] understanding, the

14   Defendants’ inclusion of 6PPD in tires bears significant responsibility for the declining Chinook

15   and coho populations along the entire West Coast, which is directly affecting [her] bottom line,”

16   and that “[she’s] heard that this chemical causes mass die-offs of Chinook and coho, which helps

17   to explain why population numbers are so low that federal officials have to designate some

18   populations as Threatened or Endangered and close salmon fisheries altogether.” Bates Decl. at

19   ¶ 10. Ms. Bates states, without reference to any source, that “the San Francisco Bay /
20   Sacramento-San Joaquin River Delta area receives thousands of tons of contaminants annually,

21   including stormwater runoff, which contains 6PPD and 6PPD-q” and links this to the decline of

22   Sacramento River Chinook. Bates Decl. at ¶ 11. Ms. Bates then speculates that if the Court

23   were to “enjoin [the Companies] from continuing [to take salmonids]” then “[her] ability to make

24   a living by fishing salmon would improve significantly.” Bates Decl. at ¶ 12.

25          The Companies move to strike portions of the Declarations from the record and request

26   that this Court decline to consider them in ruling on the Companies’ Motion to Dismiss because

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 1   the Declarations fail to comply with Civ. L.R. 7-5(b) and none of the declarants are proper lay or

 2   expert witnesses.

 3                                     II.     LEGAL STANDARDS
 4          In the Northern District, “[f]actual contentions made in support of or in opposition to any

 5   motion must be supported by an affidavit or declaration and by appropriate references to the

 6   record…[and]…may contain only facts, must conform as much as possible to the requirements

 7   of Fed. R. Civ. P. 56(e), and must avoid conclusions and argument. Any statement made upon

 8   information or belief must specify the basis therefor. An affidavit or declaration not in

 9   compliance with this rule may be stricken in whole or in part.” Civ. L.R. 7-5(b). Federal Rule of

10   Civil Procedure 56(c)(4), previously enumerated as subdivision (e), provides that “[a]n affidavit

11   or declaration used to support or oppose a motion must be made on personal knowledge, set out

12   facts that would be admissible in evidence, and show that the affiant or declarant is competent to

13   testify on the matters stated.” Fed. R. Civ. P. 56(c)(4); Mulato v. Wells Fargo Bank, N.A., 76 F.

14   Supp. 3d 929, 946 (N.D. Cal. 2014). See also Fed. R. Evid. 602.

15          Declarations cannot contain improper expert opinions. District courts have a continuing

16   duty to ensure expert testimony, that is, assertions regarding “matters beyond the common

17   knowledge of the average layman,” “rests on a reliable foundation and is relevant to the task at

18   hand.” United States v. Vallejo, 237 F.3d 1008, 1019 (9th Cir. 2001); Kumho Tire Co., Ltd. v.

19   Carmichael, 526 U.S. 137, 141 (1999) (citing Daubert v. Merrell Dow Pharm., Inc., 509 U.S.
20   579, 597 (1993)); United States v. Freeman, 498 F.3d 893, 904 (9th Cir. 2007). Under Fed. R.

21   Evid. 702(a), only a witness “who is qualified as an expert by knowledge, skill, experience,

22   training, or education” may furnish opinion testimony, and only if, inter alia, “the expert’s

23   scientific, technical, or other specialized knowledge will help the trier of fact to understand the

24   evidence or to determine a fact in issue[.]” Fed. R. Evid. 702(a); United States v. Vallejo, 237

25   F.3d at 1019. Federal Rule of Evidence 701 provides that, “if a witness is not testifying as an

26   expert, testimony in the form of an opinion is limited to one that is: (a) rationally based on the

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 1   witness’s perception; (b) helpful to clearly understanding the witness’s testimony or to

 2   determining a fact in issue; and (c) not based on scientific, technical, or other specialized

 3   knowledge within the scope of Rule 702.” Fed. R. Evid. 701.

 4          Declarations cannot contain irrelevant statements. Under Rule 401 of the Federal Rules

 5   of Evidence, evidence is relevant if (a) it has the tendency to make a fact more or less probable

 6   than it would be without that evidence, and (b) the fact is of consequence in the action Fed. R.

 7   Evid. 401.

 8          Declarations cannot rely on inadmissible hearsay. Rule 801(c) of the Federal Rules of

 9   Evidence defines hearsay as “a statement that: (1) the declarant does not make while testifying at

10   the current trial or hearing; and (2) a party offers in evidence to prove the truth of the matter

11   asserted.” Fed. R. Evid. 801(c). “Hearsay is not admissible unless any of the following provides

12   otherwise: a federal statute; these rules; or other rules prescribed by the Supreme Court.” Fed. R.

13   Evid. 802.

14                                          III.    ARGUMENT
15          A.      The Declarations contain improper opinion testimony on scientific, technical

16                  and specialized matters.

17          No declarant here testifies to having scientific, technical or other specialized knowledge

18   regarding chemistry, toxicology, or the environmental fate and transport of chemicals in the

19   environment, yet each declarant opines that 6PPD and 6PPD-q are toxic to certain salmonid
20   species and are a cause of the decline in those species’ populations. For example, Mr. Spain

21   attributes the “significant mortality of Coho, Chinook, and steelhead…in large part to 6PPD

22   impacts,” and that “[the Companies] inclusion of 6PPD in tires has been devastating to the

23   organizational missions of IFR an PCFFA and to the livelihoods of their individual members.

24   Spain Decl. at ¶ 22. See also Kawahara Decl. at ¶ 12 and Bates Decl. at ¶ 12. Despite their lack

25   of qualifications or expertise and no proper factual basis, the declarants also seek to opine on the

26   efficacy of salmon restoration projects (Kawahara Decl. at ¶ 13); the scientific causes of

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 1   allegedly reduced salmon harvests (Bitts Decl. at ¶ 9); and the scientific link between

 2   contaminants in two particular surface waters and an alleged decline in Chinook. (Bates Decl. at

 3   ¶ 11.

 4           Each declarant here also opines about the potential benefits of various forms of injunctive

 5   relief this Court might award. Kawahara Decl. at ¶ 14; Spain Decl. at ¶¶ 24-26, Bitts Decl. at

 6   ¶ 11, Bates Decl. at ¶ 12. But again, no declarant discloses any qualifications or factual bases

 7   sufficient to establish a proper foundation for these opinions.

 8           None of the declarants claim to have the necessary qualifications to offer expert opinion

 9   testimony; none disclose the factual bases for their opinions or the sources of the referenced facts

10   and figures; and none of the opinions stated reflect the application of expert knowledge to

11   admissible facts utilizing a generally recognized expert methodology. Hence, none of the

12   opinions are admissible under Rule 702. Daubert, 509 U.S. at 592-93; Kennedy v. Collagen

13   Corp., 161 F.3d 1236, 1228 (9th Cir. 1998).

14           Nor are the Declarations admissible as lay opinion testimony. Opinions that 6PPD or

15   6PPD-q are toxic to salmonids and are a cause of the alleged decline in salmonid populations and

16   related economic and cultural impacts, or that any proposed mitigation effort could be obtained

17   through an ESA Section 10 permitting process and would have a beneficial impact on salmonid

18   populations necessarily require “scientific, technical, or other specialized knowledge within the

19   scope of Rule 702” and are not the proper subject of lay opinion testimony. Nor are such
20   opinions “rationally based on the witness’s perception.”

21           The declarants’ statements of opinion lack any proper foundation under Rules 701 and

22   702 of the Federal Rules of Evidence and are nothing more than speculation, conclusion and

23   argument disallowed by Fed. R. Civ. P. 56(4) and Civil L.R. 7-5(b).

24           B.     The Declarations contain assertions not made on personal knowledge.

25           The Declarations’ assertions are entirely unsupported. The declarants recite that they

26   have “personal knowledge” of all matters stated in the Declarations, but the Declarations do not

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 1   reveal any basis for their personal knowledge of matters pertaining to: (1) any link between

 2   stormwater runoff and Coho mortality [Spain Decl. at ¶¶ 13, 14, 15, 18, 22; Kawahara Decl. at ¶¶

 3   12, 13; Bitts Decl. at ¶¶ 8, 9]; Bates Decl. at ¶¶ 10, 11], (2) the nature of 6PPD and 6PPD-q and

 4   their fate and transport in the environment [Spain Decl. at ¶14; Kawahara Decl. at ¶12; Bitts

 5   Decl. at ¶9; Bates Decl. at ¶10], (3) a relationship between 6PPD, 6PPD-q and impacts to

 6   salmonids or fisheries [Spain Decl. at ¶¶ 14, 20, 22-23, 26; Kawahara Decl. at ¶¶ 11, 12; Bitts

 7   Decl. at ¶¶ 8, 9; Bates Decl. at ¶¶ 9, 11], (4) that 6PPD or 6PPD-q caused the alleged harms to

 8   PCFFA, IFR or their individual members [Spain Decl. at ¶¶ 13, 14, 15, 18, 22; Kawahara Decl.

 9   at ¶¶ 12, 13; Bitts Decl. at ¶ 9; Bates Decl. at ¶ 12], (5) the potential benefits of various forms of

10   injunctive relief proffered by the declarants [Spain Decl. at ¶¶ 24-25; Kawahara Decl. at ¶ 14;

11   Bitts Decl. at ¶ 11; Bates Decl. at ¶ 12], and (6) the potential for Defendants to obtain an ESA

12   Section 10 permit and the hypothetical requirements of such a permit [Spain Decl. at ¶¶ 25, 26].

13   These assertions above are matters of opinion, speculation, or conjecture rather than assertions of

14   fact based on personal knowledge.

15          The declarants are individuals engaged in aspects of the commercial fishing industry

16   (Kawahara, Bates, and Bitts) and the regional director and general counsel of a fishing industry

17   trade association (Spain). No declarant claims to have personal knowledge related to the

18   constituents of stormwater runoff; any link between stormwater and salmonid mortality

19   generally, much less mortality among ESA-listed salmonid populations at issue in this case; the
20   chemistry and toxicology of 6PPD and 6PPD-q and the environmental fate and transport of these

21   chemicals; whether the reduction of 6PPD entering the environment would have any impact on

22   salmonid populations and the health of fisheries, or any aspect of the ITP/HCP process and what

23   actions could or could not be carried out pursuant to an ESA Section 10 permit. Nor does any

24   declarant claim to have any personal experience conducting any scientific study related to 6PPD

25   or the efficacy of any proposed mitigation or restoration activity. The Declarations leave it to

26   speculation that the declarants have personal knowledge of these matters.

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 1          C.      The Declarations contain irrelevant assertions that are not admissible.

 2          The declarants advance testimony that has no relevance to the Companies’ motion to

 3   dismiss. The assertions in Plaintiffs’ declarations that Plaintiffs have been injured by the

 4   Companies’ inclusion of 6PPD in tires and the allegedly associated decline in salmon harvests.

 5   Spain Decl. ¶¶17-23; Kawahara Decl. ¶¶7-9, 11; Bates Decl. ¶¶6-8; Bitts Decl. ¶7. Dkt. 128 at

 6   3:9-13. The Companies’ motion does not challenge injury-in-fact or cause-in-fact but instead

 7   focuses on the “fairly traceable” and redressability aspects of Article III standing. Dkt. 127 at 5-

 8   7. The assertions regarding causation and foreseeability are likewise unconnected to the

 9   Companies’ Motion to Dismiss. See, e.g., Spain Decl. ¶¶ 14, 18, 22; Kawahara Delc. ¶¶ 12-13;

10   Bitts Decl. ¶ 9; Bates Decl. ¶¶ 10-11. Plaintiffs again conflate the “fairly traceable” element of

11   Article III standing with inapplicable proximate cause considerations that are not at issue in the

12   Companies’ motion and have not been argued in this matter.

13          D.      The Declarations rely on inadmissible hearsay.

14          The declarations are replete with inadmissible hearsay. Mr. Spain refers to

15   “conversations [with] fishing family members” and what ‘scientists tell us” about “the

16   proliferation of 6PPD and 6PPD-q” and “Coho and Chinook populations plummeting”, and his

17   “understanding” about the observations of unnamed scientists. Spain Decl. at ¶¶ 12, 18. He also

18   refers to six scientific studies he is merely “aware of”. Spain Decl. at ¶ 13 and 24, and Exs. A,

19   B, C, E, F and G. Mr. Bitts refers to information he has “heard” about 6PPD-q, e.g., that it
20   “causes prespawn mortality in Coho, Chinook and steelhead…[and] that prespawn mortality [of

21   these species] brought about by 6PPD-q has been a major factor in driving our ocean commercial

22   harvests downward, coastwide, year by year.” Bitts Decl. at ¶ 9. Ms. Bates also refers to matters

23   information “based on [her] understanding”, e.g., that “Defendants’ inclusion of 6PPD in tires

24   bears significant responsibility for the declining Chinook and coho populations along the entire

25   West Coast … [and she has] heard that this chemical causes mass die-offs of Chinook and coho,

26   which helps to explain why population numbers are so low that federal officials have to

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 1   designate some populations as Threatened or Endangered and close salmon fisheries altogether.”

 2   Bates Decl. at ¶ 10-11. See also Kawahara Decl. at ¶¶ 12, 13 (relying on “news releases” and his

 3   “understanding” and information garnered from “speaking to” a neighbor).

 4             The referenced statements that the declarants heard from others1, the information the

 5   declarants came to “understand”, and the scientific studies Mr. Spain is merely “aware of” are

 6   out-of-court statements, not by the declarants, and are offered to prove the truth of the matter

 7   asserted. As such, the assertions are inadmissible hearsay and are not properly before the court.

 8                                  IV.      CONCLUSION AND RELIEF
 9             For the foregoing reasons, the Companies respectfully request that the Court strike the

10   following: ¶¶ 4, 7, 11, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, and 26, and Exs. A, B, C,

11   E, F, G of the Spain Decl. [Dkt. 128-1]; ¶¶ 7, 8, 9, 11, 12, 13, and 14 of the Kawahara Decl.

12   [Dkt. 128-2]; ¶¶ 6, 7, 9, 10, and 11 of the Bitts Decl. [Dkt. 128-3]; and ¶¶ 4, 5, 6, 7, 8, 9, 10, 11,

13   and 12 of the Bates Decl. [Dkt. 128-4].

14                                                Respectfully submitted,

15
         Dated: July 5, 2024                             BEVERIDGE & DIAMOND PC
16
                                                         By: /s/ Susan E. Smith
17                                                           SUSAN E. SMITH
                                                             LOREN DUNN (Admitted Pro Hac Vice)
18                                                           W. PARKER MOORE (Admitted Pro
19                                                           Hac Vice)
                                                             Attorneys for Defendants
20                                                           Bridgestone Americas Tire Operations,
                                                             LLC; Continental Tire the Americas,
21                                                           LLC; GITI Tire (USA), Ltd.; The
                                                             Goodyear Tire & Rubber Company,
22                                                           individually and as successor in interest
23                                                           to Cooper Tire & Rubber Company;
                                                             Nokian Tyres Inc.; Nokian Tyres U.S.
24                                                           Operations, LLC; Pirelli Tire LLC;
                                                             Sumitomo Rubber North America, Inc.;
25

26   1
       The sources of the declarants’ “understanding” are not disclosed. Presumably, sources included
27   information heard from others.

28       DEFENDANTS’ MOTION TO STRIKE DECLARATIONS –
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 1                                                 Sumitomo Rubber USA, LLC; Toyo Tire
                                                   Holdings of Americas, Inc.; and
 2                                                 Yokohama Tire Corporation.
 3
     Dated: July 5, 2024                    DLA PIPER LLP (US)
 4
                                            By: /s/ George Gigounas
 5                                              GEORGE GIGOUNAS
                                                CAROLINE LEE
 6                                              PAUL WIERENGA (Admitted Pro Hac
                                                Vice)
 7                                              Attorneys for Defendant
 8                                              Michelin North America, Inc.

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     Dated: July 5, 2024                    DLA PIPER LLP (US)
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12                                              JUSTIN PARK
                                                DONGHYUN KIM
13                                              Attorneys for Defendant
14                                              Kumho Tire U.S.A., Inc.

15   Dated: July 5, 2024                    DLA PIPER LLP (US)
16                                          By: /s/ Adam Baas
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17                                              ALLEXANDERIA BINGHAM
18                                              Attorneys for Defendant
                                                Hankook Tire America Corp.
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28   DEFENDANTS’ MOTION TO STRIKE DECLARATIONS –
     Case No. 23-cv-05748-JD - Page 13
             Case 3:23-cv-05748-JD Document 129 Filed 07/05/24 Page 14 of 14




 1
                                     CERTIFICATE OF SERVICE
 2
            I hereby certify that on the below date, I caused to be served a true and correct copy of the
 3

 4   foregoing, which was served on all counsel of record using the Court’s CM/ECF system.

 5
            Dated: July 5, 2024
 6

 7
                                                       /s/Natasha Johnston
 8
                                                       Natasha Johnston, Legal Assistant
 9                                                     on behalf of Loren R. Dunn

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28    DEFENDANTS’ MOTION TO STRIKE DECLARATIONS –
      Case No. 23-cv-05748-JD - Page 14
